Case 1:23-cv-03032-MKV Document 12-46 Filed 04/11/23 Page 1 of 2




        EXHIBIT 43
4/10/23, 7:13 AM     Case 1:23-cv-03032-MKV Document   12-46 Filed
                                               @realDonaldTrump's         04/11/23
                                                                  post | Truth Social Page 2 of 2

                                                                                                   Log in   Sign up



          @realDonaldTrump's post

              Donald J. Trump
              @realDonaldTrump · 6d

   D.A. BRAGG JUST ILLEGALLY LEAKED THE 33 points of Indictment. There are no
   changes or surprises from those he leaked days ago directly out of the Grand Jury.
   No Crime by Trump. What a MESS. Bragg should resign, NOW!
   14.9k ReTruths 51.6k Likes                                                                  Apr 03, 2023, 8:51 PM


          Reply                             ReTruth                           Like




                                              Continue the conversation
                                      Join Truth Social to get the full story and details.


                                                                    Log in


                                                                    Sign up




                                 Feed                                                   Discover

https://truthsocial.com/@realDonaldTrump/posts/110137802045158066                                                      1/1
